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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                        CASE NO. 9:16-CV-80148-ROSENBERG/BRANNON

  BYRON L. HARRIS, JR.,

          Plaintiff,

  v.

  CITY OF BOYNTON BEACH et al.,

          Defendants.
                                               /

                          ORDER OF DISMISSAL WITH PREJUDICE

          THIS CAUSE came before the Court upon the parties’ Stipulation for Order of Dismissal

  of Plaintiff’s Claims [DE 156]. The Court has carefully considered the Stipulation and is

  otherwise fully advised in the premises. Accordingly, it is

          ORDERED AND ADJUDGED that Plaintiff’s claims are hereby DISMISSED WITH

  PREJUDICE to the Plaintiff, with each of the parties to bear their own attorney’s fees and costs,

  and the Plaintiff shall satisfy all liens and subrogated interest, including but not limited to

  doctors, hospitals, medicals, property damage, PIP, workmen’s compensation, Medicare,

  Medicaid, Blue Cross Blue Shield and all others, out of the proceeds of the settlement herein.

          DONE AND ORDERED in Chambers, Fort Pierce, Florida, this 13th day of January,

  2017.



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  Copies furnished to:                                 ROBIN L. ROSENBERG
  Counsel of record                                    UNITED STATES DISTRICT JUDGE
